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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

 COMMUNITY FINANCIAL SERVICES
 ASSOCIATION OF AMERICA, LTD., and
 CONSUMER SERVICE ALLIANCE OF TEXAS,

                                Plaintiffs,
 v.
                                                      Civil Action No. 1:18-cv-295-LY
 CONSUMER FINANCIAL PROTECTION
 BUREAU and JOHN MICHAEL MULVANEY,

                                Defendants.


                        CORPORATE DISCLOSURE STATEMENT

       Pursuant to Federal Rule of Civil Procedure 7.1, Cooperative Baptist Fellowship states that

it is a nonprofit, nonstock corporation. It has no parent corporation, and no publicly held

corporation has an ownership interest in it.

Dated: September 19, 2018                           Respectfully submitted,

                                                    /s/ Rebecca Smullin
                                                    Rebecca Smullin (DC Bar No. 1017451)
                                                    (admitted pro hac vice)
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                                                    Counsel for Cooperative Baptist Fellowship


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                                CERTIFICATE OF SERVICE

        I hereby certify that on September 19, 2018, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send notification of such filing to counsel

for all parties.

                                                            /s/ Rebecca Smullin
                                                            Rebecca Smullin




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